Case 1:20-cv-21553-MGC Document 42 Entered on FLSD Docket 04/17/2020 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                         CASE NO. 20-21553-COOKE/GOODMAN

  PATRICK GAYLE, et al.,

         Plaintiffs,
  v.

  MICHAEL W. MEADE, et al.,

        Defendants.
  __________________________/

                       POST-HEARING ADMINISTRATIVE ORDER

         On April 17, 2020, the Undersigned held a video hearing on Petitioners’

  Emergency Motion for Temporary Restraining Order and Motion for Preliminary

  Injunction for Proposed Class. [ECF Nos. 4; 29]. At the hearing, the Undersigned ordered

  as follows:

         1.     By Sunday April 19, 2020 at 12:00 p.m., defense counsel may file a list of

  authorities of cases involving similar class action (or multi-party) application(s) by

  detainees held in immigration detention centers where the application(s) was denied. If

  counsel decides to file this list of authorities, then the list shall include the case names,

  numbers, and at most a one sentence objective parenthetical summary of the relevant

  holding. As discussed at the hearing, the Undersigned does not want argument or a

  disguised memorandum of law.
Case 1:20-cv-21553-MGC Document 42 Entered on FLSD Docket 04/17/2020 Page 2 of 2



         2.     By Sunday April 19, 2020 at 12:00 p.m., Plaintiffs’ counsel may file a list of

  authorities of cases involving similar class action (or multi-party) application(s) by

  detainees held in immigration detention centers where the application(s) was granted. If

  counsel decides to file this list of authorities, then the list shall include the case names,

  numbers, and at most a one sentence objective parenthetical summary of the relevant

  holding. As discussed at the hearing, the Undersigned does not want argument or a

  disguised memorandum of law.

         DONE AND ORDERED in Chambers, in Miami, Florida, on April 17, 2020.




  Copies furnished to:
  The Honorable Marcia G. Cooke
  All counsel of record




                                               2
